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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                                      Ryan J Travers
    was duly qualified and admitted on December 9, 2016 as an attorney and counselor entitled to
      practice before this Court; and is, on the date indicated below, an Active member in good
                                          standing of this Bar.


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                                                                               Court at the City of    •

                                                                       Washington,
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                                                                                   D.C., on August 31, 2023.
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                                                                                          JULIO A. CASTILLO
                                                                                           Clerk of the Court




                                                        Issued By:


                                                                                  David Chu - Director, Membership
                                                                                 District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
